     Case 1:22-bk-10283-MB Doc 35-1 Filed 10/14/22                            Entered 10/14/22 13:10:16              Desc
                         Ntc Pssbl Dvdnd/Ord Fx Time                          Page 1 of 1

                                         United States Bankruptcy Court
                                           Central District of California
                                      21041 Burbank Blvd, Woodland Hills, CA 91367−6603

                                      NOTICE OF POSSIBLE DIVIDEND AND
                                      ORDER FIXING TIME TO FILE CLAIMS

    DEBTOR(S) INFORMATION:                                               BANKRUPTCY NO. 1:22−bk−10283−MB
    Lusine Cristine Dokuzyan                                             CHAPTER 7
    SSN: xxx−xx−9313
    EIN: N/A
    7635 Bluebell Ave.
    North Hollywood, CA 91605




Notice is hereby given that sufficient assets may become available for a distribution to creditors in the above−captioned
bankruptcy case.
Therefore, in accordance with the provisions of Bankruptcy Rule 3002(c)(5), creditors must file their proofs of claim on or
before January 17, 2023.
ANY CREDITOR WHO HAS PREVIOUSLY FILED A PROOF OF CLAIM NEED NOT FILE AGAIN.
A Proof of Claim form (Official Form 410) can be obtained at the United States Court's website:
(http://www.uscourts.gov/FormsAndFees/Forms/BankruptcyForms.aspx) or at any bankruptcy clerk's office.




                                                                               For The Court,
Dated: October 14, 2022                                                        Kathleen J. Campbell
                                                                               Clerk of Court




(Form ntcpdiv − VAN−10) Rev 12/2015                                                                                         35 / AG
